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                          UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

                                              Case No., 3:24-cv-00347-AN
FEDERAL TRADE COMMISSION,
STATE OF ARIZONA,                             DECLARATION OF TODD BURSKI
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,
STATE OF ILLINOIS,
STATE OF MARYLAND,
STATE OF NEVADA,
STATE OF NEW MEXICO,
STATE OF OREGON, and
STATE OF WYOMING,

            Plaintiffs,

v.
Case No. 3:24-cv-00347-AN
DECLARATION OF TODD BURSKI
     Case 3:24-cv-00347-AN   Document 508   Filed 10/10/24   Page 2 of 7




THE KROGER COMPANY,
ALBERTSONS COMPANIES, INC.,


          Respondents.




Case No. 3:24-cv-00347-AN
DECLARATION OF TODD BURSKI
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that, on the date set forth below, I caused a true, exact and full copy of
 3   the foregoing DECLARATION OF TODD BURSKI be served on each of the following parties
 4   or persons by the method indicated below:

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     Commission
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 1   Dated: October 10, 2024
 2                                       Respectfully submitted,
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